       0:10-cv-02889-JFA       Date Filed 01/06/11     Entry Number 7         Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               ROCK HILL DIVISION

ERIC C. MILLER,                             )
                                            )
       Plaintiff,                           )
                                            )       No. 0:10-cv-02889-JFA
       vs.                                  )
                                            )
NATIONAL ACTION FINANCIAL                   )
SERVICES, INC.,                             )       NOTICE OF DISMISSAL
                                            )
       Defendant.                           )


       Now comes the Plaintiff, ERIC C. MILLER, by and through his attorneys, and hereby

advises the Court that he is dismissing the above-captioned matter with prejudice, pursuant to a

settlement agreement reached between the parties.



                                                    Respectfully submitted,

                                                    /s/ James M. Ervin
                                                    James M. Ervin
                                                    Attorney for Plaintiff
                                                    Luxenburg & Levin, LLC
                                                    600 Columbia Avenue
                                                    Lexington, SC 29072
                                                    (888) 493-0770, ext. 308 (phone)
                                                    (866) 551-7791 (facsimile)
                                                    James@LuxenburgLevin.com
       0:10-cv-02889-JFA          Date Filed 01/06/11       Entry Number 7        Page 2 of 2




                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2011, a copy of the foregoing Notice of Dismissal was

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing through

the Court’s system.



                                                        / /s/ James M. Ervin
                                                        James M. Ervin
                                                        Attorney for Plaintiff
                                                        Luxenburg & Levin, LLC
                                                        600 Columbia Avenue
                                                        Lexington, SC 29072
                                                        (888) 493-0770, ext. 308 (phone)
                                                        (866) 551-7791 (facsimile)
                                                        James@LuxenburgLevin.com
